                         IN THE UNITED STATE DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION


Melanie Hogan Sluder and                                )
Ricky Shawn Curtis, Individually                        )
and as Independent Administrators                       )
of the Estate of Alexis Marie Sluder,                   )
Deceased,                                               )
                                                        )
         Plaintiffs,                                    )       Case No. 4:24-cv-00181
                                                        )
    v.                                                  )
                                                        )
Rebecka Phillips, et al,                                )
                                                        )
         Defendants.                                    )


              Motion to Enter an Electronically-Stored-Information (ESI) Protocol

         Now come Plaintiffs, by and through their attorneys, moving this Honorable Court to enter

Plaintiff’s Proposed Confidentiality Order, attached hereto. Plaintiff states as follows:

         Plaintiff seeks a protocol to govern the disclosure of Electronically-Stored Information

(ESI). Rule 34(a) of the Federal Rules of Civil Procedure provides for the discovery of electronically

stored information. Reilly v. Chipotle Mexican Grill, Inc., No. 15-CV-23425, 2016 WL 10644064, at *10

(S.D. Fla. Sept. 26, 2016). Plaintiff expects that the majority of the records in this case have been

stored electronically, and there will be very few “hard” or physical documents exchanged. Regardless

of the cases expected discovery needs, however, ESI protocols are generally helpful in preventing

future discovery disputes between counsel, which will be especially necessary in a case such as this

where there are so many parties represented by different attorneys. See e.g. Guy v. Absopure Water Co.,

No. 20-12734, 2021 WL 5511722 *2 (E.D. Mich. July 13, 2021). Accordingly, this protocol is
necessary to ensure that there are agreed-upon guidelines for the production of such records, which

will help prevent unnecessary disputes and potential motion practice later in discovery.

        As described in Plaintiff’s Certificate of Conferral, infra, Plaintiff circulated a draft of the

proposed protocol to all counsel. Counsel for Gilmer County, Sharon Ellis, Monica Headrick, David

McKinney, and Rebeck Phillips indicated this protocol could be presented to the Court without

objection. Plaintiff has not received a response from Maveis Brooks or Russell Ballard regarding

their position.

        Wherefore, Plaintiff respectfully requests that this Honorable Court enter Plaintiff’s

proposed ESI order, attached hereto.

                                                  /s/ Sam Harton
                                                  One of Plaintiff’s Attorneys

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                                CERTFICATE OF CONFERRAL

       Sam Harton, hereby certify that I attempted to confer with the parties who have appeared in

this litigation. On October 30, 2024, counsel for all parties, except Maveis Brooks (who had not

appeared at the time), met via Zoom videoconference to confer on an ESI protocol. On November

7, 2023, counsel for Plaintiff circulated a proposed ESI protocol to all counsel, including Ms.

Brooks’ counsel, who had recently appeared. Undersigned counsel noted that if she did not receive

objections within ten days, she would file with the understanding that the protocol was unopposed.

The parties negotiated via email regarding the contents of the protocol, and undersigned counsel

ultimately received confirmation from counsel for Gilmer County, Sharon Ellis, Monica Headrick,

David McKinney, and Rebeck Phillips that the proposed protocol could be presented without

objection. At the time of this filing, Plaintiff has not received confirmation from counsel for Maveis

Brooks or Russell Ballard.

Dated: November 25, 2024

                                               /s/ Sam Harton
                                               One of Plaintiff’s Attorneys

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